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RE-SENTENCING COURTROOM MINUTE SHEET                                        DATE January 28, 2022

CR. CASE NO. 18-227-SLP

U.S.A. -vs- JOSEPH MALDONADO-PASSAGE

TOTAL TIME 1:30

JUDGE SCOTT L. PALK                     DEPUTY JANET WRIGHT                 REPORTER Emily Cripe

COUNSEL FOR GOVERNMENT. Charles Brown Matthew Dillon Steven Creager

COUNSEL FOR DEFENDANT.                 Amy Hanna J Blake Patton John Phillips Molly Parmer

SENTENCING MINUTE: Dft. appears in person with retained counsel

Pre-Sentence report is accepted as submitted.                    Probation Officer: Kali Funderburk

DEFENDANT IS SENTENCED TO CUSTODY OF BUREAU OF PRISONS FOR A TERM OF 252 months as follows:
  102 months as to Count 1;
  102 months as to count 2; to run consecutively to Count 1;
  12 months as to each of Counts 3-11 to run concurrently with the other counts;
  48 months as to each Counts 12 and 15-21, to run concurrently with one another and consecutive to Count 1

Upon expiration of sentence imposed herein, defendant shall serve a term of supervised release of 3 years. This consists of 3 years on
each of Counts 1,2,12, and 15-21, and 1 year as to each of Counts 3-11, all such terms to run concurrently.

Defendant to abide by following conditions of probation/supervised release:

(X)      shall participate in the Inmate Financial Responsibility Program while incarcerated.
(X)      other. The defendant shall comply with the special conditions listed in PART D of the presentence investigation report.

Fine is hereby waived due to dft’s inability to pay such fine.

PAY A SPECIAL ASSESSMENT FEE OF $1,225.00, consisting of $100.00 per felony Count and $25.00 per misdemeanor Count,
Due immediately.

DFT. adv. of right to appeal & to appeal in f.p. DFT. gives oral notice of appeal and Clerk directed to spread of record APPEAL
BOND set in the amt of ___________ CASH or SURETY.

Court orders commitment to the custody of the Bureau of Prisons/Attorney General & recommends that dft be incarcerated at: FMC
Forth Worth, TX or Butner, NC

DFT. REMANDED TO U.S.M.

Defendant’s Exhibit 1 and Government 1 admitted, Court retains exhibits.
